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 EXHIBIT B
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December 29, 2017

Via E-mail (bernd.schlabach@it-motive.de)

Bernd Schlabach
it-motive AG

RE: Henry Kurz

Dear Mr. Schlabach:

We represent ConfigAir, LLC (“ConfigAir” or the “Company”), and I am writing because we
have reason to believe that you may have recently been contacted by Henry Kurz, one of
ConfigAir's former officers and one of its existing shareholders who is currently involved in a
legal dispute with the Company.

If Mr. Kurz has contacted you or your company or contacts you or your company in the future,
please be aware that he is subject to binding and enforceable non-competition, non-solicitation,
and non-disclosure agreements that he previously entered into with ConfigAir . Moreover, Mr.
Kurz is believed to be in the possession of a number of ConfigAir's trade secrets and property,
including, but not limited to, the code underlying ConfigAir's software, ConfigAir's customer
information, and other confidential information.

To the extent that you or your company are working with Mr. Kurz in a manner that competes
with ConfigAir or that he discloses to you or your company any of ConfigAir's trade secret and
confidential information, ConfigAir will take legal action against you and your company for,
among other things, interfering with ConfigAir's contracts and misappropriating trade secrets.
To the extent you have not had any contact with Mr. Kurz, please disregard this letter.

If you have any questions or would like to discuss this further, please feel free to contact me.

Sincerely,




Tony J. Hornbach




Tony.Hornbach@ThompsonHine.com Fax: 513.241.4771 Phone: 513.352.6721                    th 4843-0657-6217.1
